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                               Attorneys for Defendant Arizona CVS
                           5   Stores, LLC (Improperly pled as CVS Health
                               a/k/a CVS Pharmacy, Inc.)
                           6
                                                     IN THE UNITED STATES DISTRICT COURT
                           7
                                                          FOR THE DISTRICT OF ARIZONA
                           8
                               Charles Crouch,
                           9
                                                            Plaintiff,       Docket No.____________________
                     10
                               v.
                     11
                               CVS Health a/k/a CVS Pharmacy, Inc.,                    NOTICE OF REMOVAL
                     12
                                                            Defendant.
                     13
                     14                   Defendant Arizona CVS Stores, LLC (Improperly pled as CVS Health a/k/a CVS
                     15        Pharmacy, Inc.) (“Defendant”) files this Notice of Removal, showing the following
                     16        grounds:
                     17                   1.    On December 9, 2016, Plaintiff filed an action in the Superior Court of the
                     18        State of Arizona, In and For the County of Maricopa, styled Crouch v. CVS Health a/k/a
                     19        CVS Pharmacy, Inc., Case No. CV 2016-055020. A true and correct copy of the state
                     20        court’s docket, including all process, pleadings and orders served upon Defendant in the
                     21        state court action, is filed with this notice as required by 28 U.S.C. §1446(a) and Local
                     22        Rule 3.7, and attached hereto as Exhibit 1.
                     23                   2.    Arizona CVS Stores, LLC was improperly pled as CVS Health a/k/a CVS
                     24        Pharmacy, Inc.
                     25                   3.    Service on Defendant was effectuated through CT Corporation System, as

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                     26        statutory agent for Defendant, on January 6, 2017.          (See Exhibit 1, Certificate of
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                           1   Service). Therefore, this Notice of Removal is timely filed under 28 U.S.C. §1446(b),
                           2   within thirty (30) days of receipt of the initial pleading setting forth the claim for relief
                           3   and summons.
                           4              4.   All Defendants consent to removal of this action to the United States
                           5   District Court.
                           6              5.   The United States District Court has original jurisdiction over this action
                           7   based upon diversity of citizenship between the Parties, as explained below. To the best
                           8   of Defendant’s knowledge, Plaintiff is a citizen of the State of Arizona. (Complaint, ¶2).
                           9   Defendant is now, and was at the time the action was commenced, diverse in citizenship
                     10        from Plaintiff. Defendant Arizona CVS Stores, LLC is a limited liability corporation
                     11        whose sole member is CVS Pharmacy, Inc. CVS Pharmacy, Inc. is incorporated in the
                     12        state of Rhode Island with its principal place of business being Rhode Island, and was
                     13        domiciled there at the time this action was commenced. The citizenship of a limited
                     14        liability company is the citizenship of its members. NewGen, LLC v. Safe Cig, LLC, 840
                     15        F.3d 606, 612 (9th Cir. 2016). Thus, Arizona CVS Stores is a citizen of Rhode Island.
                     16                   6.   Because Plaintiff is a citizen of Arizona and Arizona CVS Stores is a
                     17        citizen of Rhode Island, complete diversity exists under 28 U.S.C. §1332.
                     18                   7.   The amount in controversy exceeds $75,000. Where there is diversity of
                     19        citizenship, the “district courts shall have original jurisdiction of all civil actions where
                     20        the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
                     21        costs.” 28 U.S.C. § 1332(a). The Ninth Circuit has held that a removing defendant need
                     22        not establish the amount in controversy to a “legal certainty.” Sanchez v. Monumental
                     23        Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996) (amount in controversy shown by a
                     24        preponderance of the evidence). “In measuring the amount in controversy, a court must
                     25        assume that the allegations in the complaint are true and assume that a jury will return a

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                           1   verdict for the plaintiff on all claims made in the complaint.” Forever Living Products
                           2   U.S. Inc. v. Geyman, 471 F.Supp. 2d 980, 986 (D. Ariz. 2006).
                           3              Plaintiff’s Complaint brings a cause of action for negligence. Plaintiff seeks
                           4   compensation for medical bills, past and future pain, suffering, aggravation, mental
                           5   distress, medical treatment, and permanent injuries and other incidental damages. 1
                           6   (Exhibit 1, Complaint at Relief Requested).
                           7              Along with his Complaint, Plaintiff filed a Certificate of Compulsory Arbitration
                           8   certifying that the award sought by him, excluding attorneys’ fees, interest and costs,
                           9   exceeds $50,000. (Exhibit 1, Certificate of Compulsory Arbitration). See Maricopa
                     10        County Local Rule 3.10.         In addition to certifying that this case is not subject to
                     11        compulsory arbitration plaintiff made two pre-suit demands both of which were well in
                     12        excess of $75,000. Plaintiff’s allegations, Certificate of Compulsory Arbitration, and
                     13        pre-suit demands, establish that it is more likely than not the amount in controversy
                     14        exceeds $75,000.
                     15                   8.    Therefore, because this action is wholly between citizens of different states,
                     16        and because the amount in controversy exceeds $75,000 exclusive of interest and costs,
                     17        this Court has original jurisdiction over this cause pursuant to 28 U.S.C. §1332(a)(1).
                     18                   9.    Under 28 U.S.C. §1441(a), venue of the removed action is proper in this
                     19        Court as the district and division embracing the place where the state action is pending.
                     20                   10.   Defendant, the removing party, will promptly give the adverse Party written
                     21        notice of the filing of this Notice of Removal as required by 28 U.S.C. §1446(d).
                     22
                                          1
                     23                  “[T]he pertinent question is what is in controversy in the case, not how much the
                               plaintiffs are ultimately likely to recover.” Amoche v. Guar. Trust Life Ins. Co., 556
                     24        F.3d 41, 51 (1st Cir. 2009); citing Brill v. Countrywide Home Loans, 427 F.3d 446, 448
                     25        (7th Cir. 2005). Based on the foregoing, Defendant expressly reserves the right to deny
                               liability and assert all defenses to Plaintiff’s substantive claims, as well as contest the
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                     26        amount of the alleged damages.
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                           1   Defendant will promptly file a copy of this Notice of Removal with the Clerk of the
                           2   Superior Court of the State of Arizona, In and For the County of Maricopa, where the
                           3   action is pending, also pursuant to 28 U.S.C. §1446(d).
                           4              11.    WHEREFORE, Defendant, pursuant to these statutes and in conformance
                           5   with the requirements set forth in 28 U.S.C. § 1446 and Local Rule 3.7, removes the case
                           6   styled Crouch v. CVS Health a/k/a CVS Pharmacy, Inc., Case No. CV 2016-055020,
                           7   from the Superior Court of the State of Arizona, In and For the County of Maricopa on
                           8   December 9, 2016.
                           9              RESPECTFULLY SUBMITTED this 6th day of February, 2017.
                     10                                                      RENAUD COOK DRURY MESAROS, PA
                     11
                     12
                                                                             By /s/ Margaret T. McCarthy
                     13                                                         Margaret T. McCarthy
                                                                                One North Central, Suite 900
                     14                                                         Phoenix, Arizona 85004-4417
                                                                                Attorneys for Defendant Arizona CVS
                     15                                                         Stores, LLC (Improperly pled as CVS Health
                                                                                a/k/a CVS Pharmacy, Inc.)
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                     17
                                                                   CERTIFICATE OF SERVICE
                     18
                                          I hereby certify that on this 6th day of February, 2017, I electronically transmitted
                     19
                               the foregoing document to the Clerk’s Office using the CM/ECF System for filing and
                     20
                               transmitted a Notice of Electronic Filing to the following CM/ECF participants.
                     21
                                          Bradley S. Shelts
                     22                   Titus Brueckner & Levine, PLC
                     23                   8355 East Hartford Drive
                                          Suite 200
                     24                   Scottsdale, AZ 85255
                     25
                     26        By /s/ Laurie Bergantino
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